 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                  Western District of Texas

 Case number (If known):                               Chapter you are filing under:
                                                       ✔
                                                       ❑        Chapter 7
                                                       ❑        Chapter 11
                                                       ❑        Chapter 12
                                                       ❑        Chapter 13                                                                       ❑Check if this is an
                                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Douglas
       government-issued picture                   First name                                                       First name
       identification (for example, your
                                                   J
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to        Craig
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                   First name                                                       First name
       Include your married or maiden
       names.                                      Middle name                                                      Middle name


                                                   Last name                                                        Last name




                                                   First name                                                       First name


                                                   Middle name                                                      Middle name


                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 1        2       1   2                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
 Debtor 1            Douglas             J                               Craig                                              Case number (if known)
                     First Name          Middle Name                     Last Name




                                             About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification               ✔I have not used any business names or EINs.
                                             ❑                                                                   ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing         Business name                                                       Business name
       business as names

                                             Business name                                                       Business name


                                                          -                                                                   -
                                             EIN                                                                 EIN


                                                          -                                                                   -
                                             EIN                                                                 EIN




                                                                                                                 If Debtor 2 lives at a different address:
  5.   Where you live
                                             2407 Donner Path
                                             Number             Street                                           Number            Street




                                             Round Rock, TX 78681
                                             City                                     State     ZIP Code         City                                     State     ZIP Code

                                             Williamson
                                             County                                                              County

                                             If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                             it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                             this mailing address.                                           to you at this mailing address.


                                             Number             Street                                           Number            Street



                                             P.O. Box                                                            P.O. Box



                                             City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this             Check one:                                                          Check one:
       district to file for bankruptcy
                                             ✔
                                             ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                    lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                             ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                    (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1            Douglas             J                        Craig                                                Case number (if known)
                    First Name           Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑     Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1             Douglas                 J                        Craig                                             Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
 Debtor 1            Douglas              J                          Craig                                               Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
 Debtor 1            Douglas                J                            Craig                                            Case number (if known)
                     First Name             Middle Name                  Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                    ❑      No. Go to line 16b.
                                                    ✔
                                                    ❑      Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                    ❑      No. Go to line 16c.

                                                    ❑      Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ❑       No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ✔
                                            ❑       Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                        expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                             ✔
                                                              ❑    No
      available for distribution to
      unsecured creditors?                                    ❑    Yes

                                                ✔
                                                ❑   1-49                         ❑   1,000-5,000                             ❑     25,001-50,000
  18. How many creditors do you                 ❑   50-99                        ❑   5,001-10,000                            ❑     50,000-100,000
                                                ❑                                ❑                                           ❑
      estimate that you owe?
                                                    100-199                          10,001-25,000                                 More than 100,000
                                                ❑   200-999

                                                ❑   $0-$50,000                       ❑   $1,000,001-$10 million                     ❑    $500,000,001-$1 billion
  19. How much do you estimate                  ❑   $50,001-$100,000                 ❑   $10,000,001-$50 million                    ❑    $1,000,000,001-$10 billion
      your assets to be worth?
                                                ✔
                                                ❑   $100,001-$500,000                ❑   $50,000,001-$100 million                   ❑    $10,000,000,001-$50 billion
                                                ❑   $500,001-$1 million              ❑   $100,000,001-$500 million                  ❑    More than $50 billion

                                                ❑   $0-$50,000                       ❑   $1,000,001-$10 million                     ❑    $500,000,001-$1 billion
  20. How much do you estimate                  ❑   $50,001-$100,000                 ❑   $10,000,001-$50 million                    ❑    $1,000,000,001-$10 billion
      your liabilities to be?
                                                ✔
                                                ❑   $100,001-$500,000                ❑   $50,000,001-$100 million                   ❑    $10,000,000,001-$50 billion
                                                ❑   $500,001-$1 million              ❑   $100,000,001-$500 million                  ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Douglas J Craig
                                         Douglas J Craig, Debtor 1
                                         Executed on 07/02/2018
                                                            MM/ DD/ YYYY




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 6
 Debtor 1            Douglas                J                         Craig                                              Case number (if known)
                     First Name             Middle Name                Last Name



   For your attorney, if you are                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                           under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                                which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an             in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this       filed with the petition is incorrect.
   page.

                                                ✘ /s/ Glen L. Work                                                       Date 07/02/2018
                                                    Glen L. Work, Attorney                                                      MM / DD / YYYY




                                                    Glen L. Work
                                                    Printed name

                                                    Law Office of Glen L. Work, PLLC
                                                    Firm name

                                                    Po Box 1966
                                                    Number      Street



                                                    Round Rock                                                          TX       78680-1966
                                                    City                                                                State    ZIP Code



                                                    Contact phone (512) 623-7288                                     Email address glen@glworklaw.com


                                                    24070881                                                            TX
                                                    Bar number                                                          State




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
 Fill in this information to identify your case and this filing:

  Debtor 1                    Douglas                 J                      Craig
                             First Name              Middle Name            Last Name

  Debtor 2
  (Spouse, if filing)        First Name              Middle Name            Last Name

  United States Bankruptcy Court for the:                               Western District of Texas
                                                                                                                                                ❑Check if this is an
  Case number                                                                                                                                      amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
     ❑ No. Go to Part 2.
     ✔ Yes. Where is the property?
     ❑
     1.1     2407 Donner Path                                      What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put the
           Street address, if available, or other
           description
                                                                   ✔ Single-family home
                                                                   ❑                                                     amount of any secured claims on Schedule D:
                                                                   ❑ Duplex or multi-unit building                       Creditors Who Have Claims Secured by Property.
                                                                   ❑ Condominium or cooperative                         Current value of the           Current value of the
                                                                   ❑ Manufactured or mobile home                        entire property?               portion you own?
             Round Rock, TX 78681                                  ❑ Land                                                           $415,000.00                   $415,000.00
           City                         State       ZIP Code       ❑ Investment property
                                                                   ❑ Timeshare                                          Describe the nature of your ownership interest (such
                                                                                                                        as fee simple, tenancy by the entireties, or a life
             Williamson
           County
                                                                   ❑ Other                                              estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                   ✔ Debtor 1 only
                                                                                                                         Fee Simple
                                                                   ❑
                                                                   ❑ Debtor 2 only
                                                                   ❑ Debtor 1 and Debtor 2 only                         ❑ Check if this is community property
                                                                   ❑ At least one of the debtors and another
                                                                                                                           (see instructions)

                                                                   Source of Value:
                                                                    WCAD



    If you own or have more than one, list here:

     1.2     E 230 Ft Of N 1/4 Of Lot 16 Of Pb 1 Pg                What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put the
             165 Ex N & E 35 Ft Aka Tract 12
                                                                   ❑ Single-family home                                  amount of any secured claims on Schedule D:
                                                                   ❑ Duplex or multi-unit building
           Street address, if available, or other
                                                                                                                         Creditors Who Have Claims Secured by Property.
           description
                                                                   ❑ Condominium or cooperative                         Current value of the           Current value of the
                                                                   ❑ Manufactured or mobile home                        entire property?               portion you own?
                                                                   ✔ Land
                                                                   ❑                                                                  $1,250.00                       $212.50
             , FL                                                  ❑ Investment property
           City                         State       ZIP Code       ❑ Timeshare                                          Describe the nature of your ownership interest (such
                                                                                                                        as fee simple, tenancy by the entireties, or a life
             Brevard
                                                                   ❑ Other                                              estate), if known.
           County                                                  Who has an interest in the property? Check one.
                                                                   ✔ Debtor 1 only
                                                                                                                         Fee Simple
                                                                   ❑
                                                                   ❑ Debtor 2 only
                                                                   ❑ Debtor 1 and Debtor 2 only                         ❑ Check if this is community property
                                                                   ❑ At least one of the debtors and another
                                                                                                                           (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:
                                                                   Vacant Residential Land (Single Family, Unplatted)

                                                                   Source of Value:
                                                                   Brevard County, FL tax rolls
Official Form 106A/B                                                                Schedule A/B: Property                                                          page 1
 Debtor 1                   Douglas                       J                                Craig                                                             Case number (if known)
                            First Name                    Middle Name                      Last Name



      1.3     W 1/2 Of N 3/4 Of Lot 5 Per Pb 1 Pg 165                         What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Ex W 25 Ft Aka Tract 254
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building
              Street address, if available, or other
                                                                                                                                                           Creditors Who Have Claims Secured by Property.
              description
                                                                             ❑ Condominium or cooperative                                                Current value of the          Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?              portion you own?
                                                                             ✔ Land
                                                                             ❑                                                                                         $1,250.00                      $212.50
              , FL 32781                                                     ❑ Investment property
              City                               State        ZIP Code       ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
                                                                             ❑ Other                                                                     estate), if known.
              County
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Fee Simple
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Vacant Residential Land (Single Family, Unplatted)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜        $415,425.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                    page 2
 Debtor 1                   Douglas                       J                                Craig                                                               Case number (if known)
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Ford                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Expedition
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2005                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   154000                                                                                                  entire property?             portion you own?
            Approximate mileage:                                                                                                                                         $5,000.00                   $5,000.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)
             Needs mechanical work




      If you own or have more than one, list here:

       3.2 Make:                                   Mercedes                  Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   CLK 320
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   1999                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   250000                                                                                                  entire property?             portion you own?
            Approximate mileage:                                                                                                                                         $1,000.00                   $1,000.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)
             needs mechanical work, drivetrain




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $6,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                     Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

 6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                See Attached.
                                                                                                                                                                                                    $10,475.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 3
 Debtor 1                   Douglas                        J                                  Craig                                                                 Case number (if known)
                            First Name                      Middle Name                        Last Name



 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 See Attached.                                                                                                                                  $700.00



 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Young Chang baby grand piano                                                                                                                      $0.00



 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        ✔ No
        ❑
        ❑ Yes. Describe........

 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 See Attached.
                                                                                                                                                                                                $500.00



 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜          $11,675.00




Official Form 106A/B                                                                                        Schedule A/B: Property                                                            page 4
 Debtor 1                     Douglas                            J                                      Craig                                                                   Case number (if known)
                              First Name                         Middle Name                             Last Name




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                            Current value of the
                                                                                                                                                                                                         portion you own?
                                                                                                                                                                                                         Do not deduct secured
                                                                                                                                                                                                         claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes.............................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                   Bank of America                                                                                             $1,000.00


                                                17.2. Checking account:


                                                17.3. Savings account:                                    Bank of America                                                                                                 $0.12


                                                17.4. Savings account:


                                                17.5. Certificates of deposit:


                                                17.6. Other financial account:


                                                17.7. Other financial account:


                                                17.8. Other financial account:


                                                17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                       page 5
 Debtor 1                 Douglas               J                       Craig                                              Case number (if known)
                          First Name            Middle Name              Last Name



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:        Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                        professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                               Schedule A/B: Property                                           page 6
 Debtor 1              Douglas                  J                       Craig                                                Case number (if known)
                       First Name               Middle Name              Last Name



 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                                Federal:
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                Maintenance:

                                                                                                                                Support:

                                                                                                                                Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                              page 7
 Debtor 1                   Douglas                       J                                  Craig                                                                Case number (if known)
                           First Name                      Middle Name                       Last Name



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜               $1,000.12



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
 38.   Accounts receivable or commissions you already earned

       ❑ No
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ❑ Yes. Describe........

 41.   Inventory

       ❑ No
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ❑ No
       ❑ Yes. Describe........

                                           Name of entity:                                                                                                        % of ownership:

                                                                                                                                                                                    %


                                                                                                                                                                                    %



Official Form 106A/B                                                                                       Schedule A/B: Property                                                          page 8
 Debtor 1                   Douglas                       J                                 Craig                                                                 Case number (if known)
                           First Name                      Middle Name                       Last Name




                                                                                                                                                                                %


 43.   Customer lists, mailing lists, or other compilations
       ❑ No
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ❑ No
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ❑ No
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ❑ No
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ❑ No
       ❑ Yes..........................



Official Form 106A/B                                                                                       Schedule A/B: Property                                                          page 9
 Debtor 1                    Douglas                         J                                   Craig                                                                   Case number (if known)
                            First Name                       Middle Name                          Last Name



 50.   Farm and fishing supplies, chemicals, and feed

       ❑ No
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                              $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                 $415,425.00


 56.   Part 2: Total vehicles, line 5                                                                                          $6,000.00


 57.   Part 3: Total personal and household items, line 15                                                                   $11,675.00


 58.   Part 4: Total financial assets, line 36                                                                                 $1,000.12


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $18,675.12             Copy personal property total➜          +      $18,675.12




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                $434,100.12




Official Form 106A/B                                                                                            Schedule A/B: Property                                                               page 10
 Debtor 1              Douglas            J                     Craig                            Case number (if known)
                       First Name         Middle Name           Last Name



                                                        SCHEDULE A/B: PROPERTY
                                                                  Continuation Page

 6.   Household goods and furnishings
      2 night stands: $150 end table: $100 coffee table: $300                                                              $550.00
      gas grill, new, still boxed                                                                                          $300.00
      gas grill: $125 3 bookcases: $300                                                                                    $425.00
      futon                                                                                                                $500.00
      office hutch: $300 office desk: $300                                                                                 $600.00
      bedroom storage cube system                                                                                          $300.00
      computer table TV stand                                                                                              $250.00
      decorative display table                                                                                             $125.00
      easy chair                                                                                                           $150.00
      coffee table & end table set                                                                                         $400.00
      entry way cabinet                                                                                                    $300.00
      server table/cabinet: $250 china hutch: $350                                                                         $600.00
      dining table 7 10 chairs                                                                                            $2,000.00
      washer & dryer                                                                                                       $600.00
      breakfast table & chairs                                                                                             $400.00
      double bed: $75 Bunk bed/futon: $200                                                                                 $275.00
      kind bed                                                                                                             $600.00
      freezer, stand-up                                                                                                    $350.00
      refrigerator, garage                                                                                                  $50.00
      refrigerator                                                                                                         $600.00
      couch, living room                                                                                                   $600.00
      couch, sun room                                                                                                      $200.00
      armoire                                                                                                              $300.00

 7.   Electronics
      tv 55"                                                                                                               $300.00
      2 tv's                                                                                                               $400.00

 12. Jewelry
      womens assorted fashion jewelry                                                                                      $500.00
      wedding & engagement ring                                                                                              $0.00
      women stainless steel rolex watch                                                                                      $0.00




Official Form 106A/B                                                    Schedule A/B: Property
 Fill in this information to identify your case:

  Debtor 1                   Douglas                J                    Craig
                             First Name            Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name          Last Name

  United States Bankruptcy Court for the:                          Western District of Texas

  Case number                                                                                                                          ❑Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt


 1.   Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

      Brief description of the property and line on       Current value of the         Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property               portion you own
                                                          Copy the value from          Check only one box for each exemption.
                                                          Schedule A/B

 3. Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
         ✔ No
         ❑
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                  page 1 of 1
 Debtor 1            Douglas                J                    Craig                                          Case number (if known)
                     First Name             Middle Name          Last Name


 Part 2: Additional Page
     Brief description of the property and line on    Current value of the   Amount of the exemption you claim             Specific laws that allow exemption
     Schedule A/B that lists this property            portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B

                                                                             ✔
    Brief              2407 Donner Path Round
    description:       Rock, TX 78681                     $415,000.00        ❑              $284,202.25                    Const. art. 16 §§ 50, 51, Texas Prop.

    Line from
                                                                             ❑   100% of fair market value, up to any      Code §§ 41.001-.002
                                                                                 applicable statutory limit
    Schedule A/B:      1.1




                                                                             ✔
    Brief              2005 Ford Expedition
    description:       Needs mechanical work                 $5,000.00       ❑               $5,000.00                     Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(9)
                                                                                 applicable statutory limit
    Schedule A/B:      3.1




                                                                             ✔
                       1999 Mercedes CLK 320
    Brief              needs mechanical work,                $1,000.00       ❑               $1,000.00                     Tex. Prop. Code §§ 42.001(a),
    description:       drivetrain                                            ❑   100% of fair market value, up to any      42.002(a)(9)
                                                                                 applicable statutory limit
    Line from
    Schedule A/B:      3.2




                                                                             ✔
                       2 night stands: $150 end
    Brief              table: $100 coffee table:              $550.00        ❑                $550.00                      Tex. Prop. Code §§ 42.001(a),
    description:       $300                                                  ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Line from
    Schedule A/B:      6



                                                                             ✔
    Brief
    description:       gas grill, new, still boxed            $300.00        ❑                $300.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief              gas grill: $125 3
    description:       bookcases: $300                        $425.00        ❑                $425.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief
    description:       futon                                  $500.00        ❑                $500.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief              office hutch: $300 office
    description:       desk: $300                             $600.00        ❑                $600.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                               Additional Page
 Debtor 1            Douglas               J                    Craig                                          Case number (if known)
                     First Name            Middle Name          Last Name


 Part 2: Additional Page
     Brief description of the property and line on   Current value of the   Amount of the exemption you claim             Specific laws that allow exemption
     Schedule A/B that lists this property           portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

                                                                            ✔
    Brief              bedroom storage cube
    description:       system                                $300.00        ❑                $300.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief
    description:       computer table TV stand               $250.00        ❑                $250.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief
    description:       decorative display table              $125.00        ❑                $125.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief
    description:       easy chair                            $150.00        ❑                $150.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief              coffee table & end table
    description:       set                                   $400.00        ❑                $400.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief
    description:       entry way cabinet                     $300.00        ❑                $300.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief              server table/cabinet: $250
    description:       china hutch: $350                     $600.00        ❑                $600.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief
    description:       dining table 7 10 chairs             $2,000.00       ❑               $2,000.00                     Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                              Additional Page
 Debtor 1            Douglas                J                    Craig                                          Case number (if known)
                     First Name             Middle Name          Last Name


 Part 2: Additional Page
     Brief description of the property and line on    Current value of the   Amount of the exemption you claim             Specific laws that allow exemption
     Schedule A/B that lists this property            portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B

                                                                             ✔
    Brief
    description:       washer & dryer                         $600.00        ❑                $600.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief
    description:       breakfast table & chairs               $400.00        ❑                $400.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief              double bed: $75 Bunk
    description:       bed/futon: $200                        $275.00        ❑                $275.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief
    description:      kind bed                                $600.00        ❑                $600.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief
    description:       freezer, stand-up                      $350.00        ❑                $350.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief
    description:       refrigerator, garage                    $50.00        ❑                $50.00                       Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief
    description:       refrigerator                           $600.00        ❑                $600.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




                                                                             ✔
    Brief
    description:       couch, living room                     $600.00        ❑                $600.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                             ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                 applicable statutory limit
    Schedule A/B:      6




Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                              Additional Page
 Debtor 1            Douglas             J                      Craig                                          Case number (if known)
                     First Name           Middle Name           Last Name


 Part 2: Additional Page
     Brief description of the property and line on   Current value of the   Amount of the exemption you claim             Specific laws that allow exemption
     Schedule A/B that lists this property           portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

                                                                            ✔
    Brief
    description:       couch, sun room                       $200.00        ❑                $200.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief
    description:       armoire                               $300.00        ❑                $300.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(1)
                                                                                applicable statutory limit
    Schedule A/B:      6




                                                                            ✔
    Brief
    description:       tv 55"                                $300.00        ❑                $300.00                      Const. art. 16 §§ 50, 51, Texas Prop.

    Line from
                                                                            ❑   100% of fair market value, up to any      Code §§ 41.001-.002
                                                                                applicable statutory limit
    Schedule A/B:      7




                                                                            ✔
    Brief
    description:       2 tv's                                $400.00        ❑                $400.00                      Const. art. 16 §§ 50, 51, Texas Prop.

    Line from
                                                                            ❑   100% of fair market value, up to any      Code §§ 41.001-.002
                                                                                applicable statutory limit
    Schedule A/B:      7




                                                                            ✔
    Brief              Young Chang baby grand
    description:       piano                                    $0.00       ❑                 $0.00                       Tex. Fam. Code § 3.202, 11 U.S.C. §

    Line from
                                                                            ❑   100% of fair market value, up to any      541(c)(2)
                                                                                applicable statutory limit
    Schedule A/B:      9




                                                                            ✔
    Brief              womens assorted fashion
    description:       jewelry                               $500.00        ❑                $500.00                      Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(6)
                                                                                applicable statutory limit
    Schedule A/B:      12




                                                                            ✔
    Brief              wedding & engagement
    description:       ring                                     $0.00       ❑                 $0.00                       Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(6)
                                                                                applicable statutory limit
    Schedule A/B:      12




                                                                            ✔
    Brief              women stainless steel
    description:       rolex watch                              $0.00       ❑                 $0.00                       Tex. Prop. Code §§ 42.001(a),

    Line from
                                                                            ❑   100% of fair market value, up to any      42.002(a)(6)
                                                                                applicable statutory limit
    Schedule A/B:      12




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                               Additional Page
 Debtor 1            Douglas              J                     Craig                                          Case number (if known)
                     First Name           Middle Name           Last Name


 Part 2: Additional Page
     Brief description of the property and line on   Current value of the   Amount of the exemption you claim             Specific laws that allow exemption
     Schedule A/B that lists this property           portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

                                                                            ✔
    Brief              Bank of America
    description:       Checking account                     $1,000.00       ❑               $1,000.00                     Tex. Fam. Code § 3.202, 11 U.S.C. §

    Line from
                                                                            ❑   100% of fair market value, up to any      541(c)(2)
                                                                                applicable statutory limit
    Schedule A/B:      17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                              Additional Page
 Fill in this information to identify your case:

  Debtor 1                       Douglas            J                   Craig
                                 First Name         Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name         Middle Name        Last Name

  United States Bankruptcy Court for the:                          Western District of Texas

  Case number                                                                                                                                 ❑Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                 Column B              Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim          Value of              Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the        collateral that       portion
                                                                                                                      value of collateral.     supports this         If any
                                                                                                                                               claim
2.1 BAC Home Loans Service LP                            Describe the property that secures the claim:                          $307,510.00                 $0.00     $307,510.00
     Creditor's Name
      4909 Savarese Circle FL 1-908-01-47
     Number             Street
      Tampa, FL 33634                                    As of the date you file, the claim is: Check all that apply.
     City                             State   ZIP Code   ❑Contigent
     Who owes the debt? Check one.                       ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                   ❑Disputed
     ❑Debtor 2 only                                      Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                         ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another               secured car loan)
     ❑Check if this claim relates to a                   ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                         ❑Judgment lien from a lawsuit
     Date debt was incurred                              ❑Other (including a right to offset)
                                                         Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $307,510.00




Official Form 106D                                       Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
 Debtor 1              Douglas               J                       Craig                                              Case number (if known)
                       First Name            Middle Name              Last Name


                                                                                                                      Column A               Column B              Column C
              Additional Page                                                                                         Amount of claim        Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                           Do not deduct the      collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                value of collateral.   supports this         If any
                                                                                                                                             claim



      Remarks: Foreclosure initiated - Conventional real estate mortgage




 2.2 Bank of America                                   Describe the property that secures the claim:                          $130,797.75         $415,000.00                $0.00
     Creditor's Name
                                                        2407 Donner Path Round Rock, TX 78681
     PO Box 31785
     Number          Street
     Tampa, FL 33631                                   As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code   ❑Contigent
     Who owes the debt? Check one.                     ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                 ❑Disputed
     ❑Debtor 2 only                                    Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                       ✔An agreement you made (such as mortgage or
                                                       ❑
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                       ❑Judgment lien from a lawsuit
     Date debt was incurred                            ❑Other (including a right to offset)
     Nov 01, 1999
                                                       Last 4 digits of account number 9         9    7    8



      Add the dollar value of your entries in Column A on this page. Write that number here:                                 $130,797.75
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                   $438,307.75
      here:




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
 Debtor 1             Douglas              J                        Craig                                            Case number (if known)
                      First Name            Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     2
        Barrett Daffin Frappier Turner & Engel
        Name
                                                                                             Last 4 digits of account number 0       4    1   2
        4004 Belt Line Rd Suite 100
        Number        Street



        Addison, TX 75001
        City                                                State           ZIP Code


    2                                                                                        On which line in Part 1 did you enter the creditor?     1
        PHH Mortgage
        Name
                                                                                             Last 4 digits of account number *       *    *    *
        PO Box 5452
        Number        Street



        Mount Laurrel, NJ 08054
        City                                                State           ZIP Code




Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 3
 Fill in this information to identify your case:

  Debtor 1                   Douglas               J                   Craig
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                               ❑Check if this is an
  (if known)                                                                                                                                   amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                         12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority          Nonpriority
                                                                                                                                  claim       amount            amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 6
 Debtor 1              Douglas                J                         Craig                                              Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     American Express                                                                                                                                             $28,989.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 981537
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        El Paso, TX 79998                                                         ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes
4.3     Capital One                                                                                                                                                   $1,296.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 30281
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84130                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes
4.4     Chase Card                                                                                                                                                         $515.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 15298
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
          Wilmington, DE 19850                                                    ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 6
 Debtor 1              Douglas               J                      Craig                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.5     Credit Management, LP                                                                                                                                $60.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        4200 International Pkwy
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Carrollton, TX 75007                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.6     Discover Bank                                                                                                                                  $10,347.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 15316
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Wilmington, DE                                                      ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Credit Card
       ❑      Yes
4.7     Diversified Consultants                                                                                                                         $1,695.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        10550 Deerwood Park Blvd Ste 309
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Jacksonville, FL 32256                                              ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3 of 6
 Debtor 1              Douglas               J                      Craig                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.8     Merchants & Professional Credit Bureau, Inc.                                                                                                        $464.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 140675
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Austin, TX 78714-0675                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                medical bills
       ❑      Yes
4.9     Sarma Collections                                                                                                                                   $677.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        555 E Ramsey Rd
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        San Antonio, TX 78216                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                medical bills
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 4 of 6
 Debtor 1              Douglas             J                       Craig                                             Case number (if known)
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Austin Radiological Association                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        12554 Riata Vista Circle                                      Line   4.5   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Austin, TX 78727
       City                                    State    ZIP Code      Last 4 digits of account number

        AT&T                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 5014                                                   Line   4.7   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Carol Stream, IL 60197-5014
       City                                    State    ZIP Code      Last 4 digits of account number

        Capitol Anesthesiology Association                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        3705 Medical Parkway Suite 570                                Line   4.9   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Austin, TX 78705
       City                                    State    ZIP Code      Last 4 digits of account number

                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                    State    ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                    State    ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                    State    ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                    State    ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 5 of 6
 Debtor 1              Douglas              J                      Craig                                       Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $44,043.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $44,043.00




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 6
 Fill in this information to identify your case:

     Debtor 1                   Douglas              J                  Craig
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                        Western District of Texas

     Case number                                                                                                                             ❑Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                page 1 of 1
 Fill in this information to identify your case:

  Debtor 1                        Douglas                 J                  Craig
                                 First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Western District of Texas

  Case number                                                                                                                               ❑Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ❑No
        ✔Yes. In which community state or territory did you live? Texas
        ❑                                                                                               . Fill in the name and current address of that person.
               Craig, Debra
               Name of your spouse, former spouse, or legal equivalent
               2407 Donner Path
               Number          Street
               Round Rock, TX 78681
               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                Check all schedules that apply:
3.1                                                                                                             ❑Schedule D, line
      Name
                                                                                                                ❑Schedule E/F, line
      Number          Street                                                                                    ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                                        page 1 of 1
 Fill in this information to identify your case:

  Debtor 1                   Douglas               J                  Craig
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Western District of Texas                                       ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                          chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse

                                                                           ❑Employed                                           ✔Employed
                                                                                                                               ❑
                                                                           ✔ Not Employed
     If you have more than one job,            Employment status
     attach a separate page with                                           ❑                                                   ❑Not Employed
     information about additional
     employers.                                                                                                                Student Advising
                                               Occupation
     Include part time, seasonal, or
                                                                                                                               Austin Community College
     self-employed work.                       Employer's name

     Occupation may include student
                                               Employer's address
     or homemaker, if it applies.                                             Number Street                                     Number Street




                                                                              City                     State   Zip Code         City                    State      Zip Code

                                               How long employed there?                                                         6 months



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                           For Debtor 1     For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.               2.                 $0.00                   $4,633.58

 3. Estimate and list monthly overtime pay.                                                   3.   +             $0.00     +                 $0.00


 4. Calculate gross income. Add line 2 + line 3.                                              4.                 $0.00                   $4,633.58




Official Form 106I                                                            Schedule I: Your Income                                                                   page 1
 Debtor 1                   Douglas                        J                                   Craig                                          Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                 $0.00                $4,633.58
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                  $117.05

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                  $356.79

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                   $82.88

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +            $0.00        +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                  $556.72
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                 $0.00                $4,076.86
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +            $0.00        +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                 $0.00                     $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.                $0.00    +            $4,076.86        =       $4,076.86

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $4,076.86
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
 Fill in this information to identify your case:

  Debtor 1                   Douglas                 J                      Craig
                             First Name              Middle Name           Last Name                               Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name           Last Name                               ❑A supplement showing postpetition
                                                                                                                        chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                             Western District of Texas

  Case number                                                                                                           MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                      Dependent's relationship to           Dependent's         Does dependent live
     Debtor 2.                                                                            Debtor 1 or Debtor 2                  age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                            ❑No.
                                                                                           Child                                17                  ✔Yes.
                                                                                                                                                    ❑
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
                                                                                                                                                    ❑No
                                                                                                                                                    ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                     Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                       $2,469.86


     If not included in line 4:
                                                                                                                                  4a.                          $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                         $50.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $28.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                        page 1
 Debtor 1              Douglas                J                        Craig                                 Case number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                          6a.                       $155.00

       6b. Water, sewer, garbage collection                                                                        6b.                        $47.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $220.00

       6d. Other. Specify:                                                                                         6d.                         $0.00

 7.    Food and housekeeping supplies                                                                              7.                        $215.00

 8.    Childcare and children’s education costs                                                                    8.                          $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                         $50.00

 10. Personal care products and services                                                                           10.                        $50.00

 11.   Medical and dental expenses                                                                                 11.                       $150.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                       $200.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                         $0.00

 14. Charitable contributions and religious donations                                                              14.                         $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $25.00
       15a. Life insurance
                                                                                                                   15b.                        $0.00
       15b. Health insurance
                                                                                                                   15c.                      $285.00
       15c. Vehicle insurance
                                                                                                                   15d.                       $78.00
       15d. Other insurance. Specify:                      umbrella

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                         $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                             17a.

       17b. Car payments for Vehicle 2                                                                             17b.

       17c. Other. Specify:                                                                                        17c.

       17d. Other. Specify:                                                                                        17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                        $0.00

       20b. Real estate taxes                                                                                      20b.                        $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                        $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                              page 2
 Debtor 1              Douglas              J                       Craig                                   Case number (if known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                              21.     +              $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $4,022.86

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $4,022.86


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $4,076.86

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $4,022.86

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                 $54.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                         page 3
Debtor 1       Douglas      J             Craig       Case number (if known)
               First Name   Middle Name   Last Name


                                                                      Itemized Expenses


  Household:
 Fill in this information to identify your case:

  Debtor 1                         Douglas                       J                           Craig
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                             Western District of Texas

  Case number                                                                                                                                                                       ❑Check if this is an
  (if known)                                                                                                                                                                           amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                           Your assets
                                                                                                                                                                                           Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                      $415,425.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                              $18,675.12


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                     $434,100.12



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                              $438,307.75

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                  $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                     +                  $44,043.00


                                                                                                                                                                  Your total liabilities                   $482,350.75

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                     $4,076.86


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                   $4,022.86




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                              page 1 of 2
 Debtor 1             Douglas                J                        Craig                                               Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                            $3,861.32




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
 Fill in this information to identify your case:

  Debtor 1                   Douglas               J                 Craig
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                           ❑Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Douglas J Craig
        Douglas J Craig, Debtor 1, Debtor 1                             ✘
        Date 07/02/2018                                                      Date
                MM/ DD/ YYYY                                                        MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
 Fill in this information to identify your case:

  Debtor 1                   Douglas               J                    Craig
                             First Name            Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name          Last Name

  United States Bankruptcy Court for the:                          Western District of Texas

  Case number                                                                                                                         ❑Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



 Part 1: Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
         Debtor 1:                                                Dates Debtor 1 lived      Debtor 2:                                           Dates Debtor 2 lived
                                                                  there                                                                         there


                                                                                           ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                                 From                                                                          From
       Number       Street                                                                     Number   Street
                                                                 To                                                                            To



       City                               State ZIP Code                                       City                      State ZIP Code




                                                                                           ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                                 From                                                                          From
       Number       Street                                                                     Number   Street
                                                                 To                                                                            To



       City                               State ZIP Code                                       City                      State ZIP Code




 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and territories
    include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 1
 Debtor 1             Douglas               J                        Craig                                             Case number (if known)
                      First Name             Middle Name             Last Name




 Part 2: Explain the Sources of Your Income



 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross Income                  Sources of income            Gross Income
                                                     Check all that apply.         (before deductions and        Check all that apply.        (before deductions and
                                                                                   exclusions)                                                exclusions)


     From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
     date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                    ❑Operating a business                                       ❑Operating a business

     For last calendar year:                        ❑ Wages, commissions,                                       ❑ Wages, commissions,
     (January 1 to December 31, 2017         )          bonuses, tips                                               bonuses, tips
                                      YYYY          ❑Operating a business                                       ❑Operating a business

     For the calendar year before that:             ❑ Wages, commissions,                                       ❑ Wages, commissions,
     (January 1 to December 31, 2016         )          bonuses, tips                                               bonuses, tips
                                      YYYY          ❑Operating a business                                       ❑Operating a business

 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
    payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
    have income that you received together, list it only once under Debtor 1.
    List each source and the gross income from each source separately. Do not include income that you listed in line 4.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross income from each        Sources of income            Gross Income from each
                                                     Describe below.               source                        Describe below.              csoure
                                                                                   (before deductions and                                     (before deductions and
                                                                                   exclusions)                                                exclusions)


     From January 1 of current year until the
     date you filed for bankruptcy:




     For last calendar year:
     (January 1 to December 31, 2017         )
                                      YYYY




     For the calendar year before that:
     (January 1 to December 31, 2016         )
                                      YYYY




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
 Debtor 1              Douglas                 J                         Craig                                            Case number (if known)
                       First Name              Middle Name               Last Name




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy

 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.



                                                                  Dates of            Total amount paid            Amount you still owe         Was this payment for…
                                                                  payment

                                                                                                                                               ❑Mortgage
                Creditor's Name                                                                                                                ❑Car
                                                                                                                                               ❑Credit card
                Number      Street                                                                                                             ❑Loan repayment
                                                                                                                                               ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                   State       ZIP Code


                                                                                                                                               ❑Mortgage
                Creditor's Name                                                                                                                ❑Car
                                                                                                                                               ❑Credit card
                Number      Street                                                                                                             ❑Loan repayment
                                                                                                                                               ❑Suppliers or vendors
                                                                                                                                               ❑Other
                City                   State       ZIP Code


 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
    officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
    proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.


                                                              Dates of           Total amount paid      Amount you still owe         Reason for this payment
                                                              payment




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
 Debtor 1             Douglas                J                        Craig                                              Case number (if known)
                      First Name             Middle Name               Last Name




     Insider's Name


     Number      Street




     City                        State    ZIP Code




     Insider's Name


     Number      Street




     City                        State    ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
    Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.


                                                           Dates of             Total amount paid       Amount you still owe      Reason for this payment
                                                           payment                                                               Include creditor’s name



     Insider's Name


     Number      Street




     City                        State    ZIP Code




     Insider's Name


     Number      Street




     City                        State    ZIP Code



 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
    disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.


Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 4
 Debtor 1            Douglas                J                      Craig                                           Case number (if known)
                     First Name             Middle Name             Last Name


                                                  Nature of the case                         Court or agency                                 Status of the case

     Case title                                                                                                                             ❑Pending
                                                                                            Court Name                                      ❑On appeal
                                                                                                                                            ❑Concluded
                                                                                            Number       Street
     Case number

                                                                                            City                     State       ZIP Code


     Case title                                                                                                                             ❑Pending
                                                                                            Court Name                                      ❑On appeal
                                                                                                                                            ❑Concluded
                                                                                            Number       Street
     Case number

                                                                                            City                     State       ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     ✔No. Go to line 11.
     ❑
     ❑Yes. Fill in the information below.


                                                                  Describe the property                                 Date                 Value of the property



            Creditor’s Name


            Number     Street                                     Explain what happened

                                                                 ❑Property was repossessed.
                                                                 ❑Property was foreclosed.
                                                                 ❑Property was garnished.
            City                       State     ZIP Code        ❑Property was attached, seized, or levied.
                                                                  Describe the property                                 Date                 Value of the property



            Creditor’s Name


            Number     Street                                     Explain what happened

                                                                 ❑Property was repossessed.
                                                                 ❑Property was foreclosed.
                                                                 ❑Property was garnished.
            City                       State     ZIP Code        ❑Property was attached, seized, or levied.

 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse to
     make a payment because you owed a debt?

     ✔ No
     ❑
     ❑Yes. Fill in the details.




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
 Debtor 1              Douglas                 J                        Craig                                         Case number (if known)
                       First Name              Middle Name               Last Name


                                                                 Describe the action the creditor took                      Date action was    Amount
                                                                                                                            taken
       Creditor’s Name


       Number        Street




                                                                Last 4 digits of account number: XXXX–
       City                          State     ZIP Code



 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed receiver,
     a custodian, or another official?

     ✔ No
     ❑
     ❑Yes

 Part 5: List Certain Gifts and Contributions



 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per           Describe the gifts                                        Dates you gave       Value
       person                                                                                                             the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State    ZIP Code

      Person’s relationship to you

       Gifts with a total value of more than $600 per           Describe the gifts                                        Dates you gave       Value
       person                                                                                                             the gifts



      Person to Whom You Gave the Gift




      Number        Street



      City                            State    ZIP Code

      Person’s relationship to you


 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ✔ No
     ❑
     ❑Yes. Fill in the details for each gift or contribution.

Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
 Debtor 1             Douglas              J                         Craig                                         Case number (if known)
                      First Name           Middle Name               Last Name


        Gifts or contributions to charities that     Describe what you contributed                                 Date you                 Value
        total more than $600                                                                                       contributed



       Charity’s Name




       Number       Street



       City                   State   ZIP Code



 Part 6: List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

     ✔ No
     ❑
     ❑Yes. Fill in the details.

        Describe the property you lost and         Describe any insurance coverage for the loss                    Date of your loss        Value of property lost
        how the loss occurred                    Include the amount that insurance has paid. List pending
                                                 insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about seeking
     bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ❑No
     ✔Yes. Fill in the details.
     ❑
                                                     Description and value of any property transferred             Date payment or          Amount of payment
        Law Office of Glen L. Work, PLLC                                                                           transfer was made
       Person Who Was Paid                          Attorney’s Fee
                                                                                                                   Jun 22, 2018                         $1,000.00
        Po Box 1966
       Number       Street




        Round Rock, TX 78680-1966
       City                   State   ZIP Code
        glen@glworklaw.com
       Email or website address


       Person Who Made the Payment, if Not You




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
 Debtor 1             Douglas              J                       Craig                                           Case number (if known)
                      First Name           Middle Name             Last Name


                                                   Description and value of any property transferred               Date payment or          Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid


        Number      Street




        City                   State   ZIP Code


        Email or website address


        Person Who Made the Payment, if Not You



17.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
      deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                   Description and value of any property transferred               Date payment or          Amount of payment
                                                                                                                   transfer was made
        Person Who Was Paid



        Number      Street




        City                   State   ZIP Code


18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the ordinary
      course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                   Description and value of property            Describe any property or payments received      Date transfer was
                                                   transferred                                  or debts paid in exchange                       made

        Person Who Received Transfer


        Number      Street




        City                   State   ZIP Code

        Person's relationship to you




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8
 Debtor 1              Douglas               J                        Craig                                              Case number (if known)
                       First Name            Middle Name               Last Name




        Person Who Received Transfer


       Number       Street




       City                    State   ZIP Code

       Person's relationship to you

 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
     often called asset-protection devices.)
     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                     Description and value of the property transferred                                                  Date transfer was
                                                                                                                                                        made


       Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
     funds, cooperatives, associations, and other financial institutions.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                      Last 4 digits of account number            Type of account or          Date account was             Last balance
                                                                                                 instrument                  closed, sold, moved, or      before closing or
                                                                                                                             transferred                  transfer

       Name of Financial Institution
                                                      XXXX–                                    ❑Checking
                                                                                               ❑Savings
       Number       Street
                                                                                               ❑Money market
                                                                                               ❑Brokerage
                                                                                               ❑Other
       City                   State    ZIP Code


       Name of Financial Institution
                                                      XXXX–                                    ❑Checking
                                                                                               ❑Savings
       Number       Street
                                                                                               ❑Money market
                                                                                               ❑Brokerage
                                                                                               ❑Other
       City                   State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other valuables?

     ✔ No
     ❑
     ❑Yes. Fill in the details.


Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 9
 Debtor 1             Douglas                J                         Craig                                               Case number (if known)
                      First Name             Middle Name                Last Name


                                                        Who else had access to it?                        Describe the contents                             Do you still have
                                                                                                                                                            it?

                                                                                                                                                           ❑No
       Name of Financial Institution                   Name
                                                                                                                                                           ❑Yes

       Number       Street                             Number       Street



                                                       City                    State   ZIP Code

       City                    State   ZIP Code

 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                        Who else has or had access to it?                 Describe the contents                             Do you still have
                                                                                                                                                            it?

                                                                                                                                                           ❑No
       Name of Storage Facility                        Name
                                                                                                                                                           ❑Yes

       Number       Street                             Number       Street



                                                       City                    State   ZIP Code

       City                    State   ZIP Code

 Part 9: Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                        Where is the property?                            Describe the property                             Value


       Owner's Name
                                                       Number       Street


       Number       Street

                                                       City                    State   ZIP Code


       City                    State   ZIP Code


 Part 10: Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
     or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
     wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
     including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
     contaminant, or similar term.
 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 10
 Debtor 1               Douglas                J                         Craig                                              Case number (if known)
                        First Name             Middle Name               Last Name



 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Governmental unit                           Environmental law, if you know it               Date of notice


        Name of site                                   Governmental unit



        Number       Street                            Number       Street


                                                       City                  State   ZIP Code


        City                    State    ZIP Code


25.   Have you notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Governmental unit                           Environmental law, if you know it               Date of notice


        Name of site                                   Governmental unit



        Number       Street                            Number       Street


                                                       City                  State   ZIP Code


        City                    State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑Yes. Fill in the details.
                                                         Court or agency                             Nature of the case                              Status of the case


        Case title
                                                       Court Name
                                                                                                                                                     ❑Pending
                                                                                                                                                     ❑On appeal
                                                                                                                                                     ❑Concluded
                                                       Number       Street


        Case number
                                                       City                  State   ZIP Code


 Part 11: Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            ❑ A partner in a partnership
            ❑ An officer, director, or managing executive of a corporation
            ❑ An owner of at least 5% of the voting or equity securities of a corporation
      ✔No. None of the above applies. Go to Part 12.
      ❑
      ❑Yes. Check all that apply above and fill in the details below for each business.


Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 11
 Debtor 1             Douglas                J                          Craig                                                Case number (if known)
                      First Name              Middle Name               Last Name


                                                        Describe the nature of the business                          Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:            –

        Number      Street
                                                        Name of accountant or bookkeeper                             Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

                                                        Describe the nature of the business                          Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:            –

        Number      Street
                                                        Name of accountant or bookkeeper                             Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

                                                        Describe the nature of the business                          Employer Identification number
                                                                                                                     Do not include Social Security number or ITIN.
        Name
                                                                                                                      EIN:            –

        Number      Street
                                                        Name of accountant or bookkeeper                             Dates business existed

                                                                                                                      From                    To

        City                   State    ZIP Code

 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors, or other
     parties.

     ✔ No
     ❑
     ❑Yes. Fill in the details below.
                                                        Date issued



        Name                                           MM / DD / YYYY



        Number      Street




        City                   State    ZIP Code


 Part 12: Sign Below




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 12
 Debtor 1           Douglas              J                       Craig                                           Case number (if known)
                    First Name            Middle Name             Last Name



    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
    correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
    can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



    ✘                      /s/ Douglas J Craig                        ✘
        Signature of Douglas J Craig, Debtor 1                            Signature of


         Date 07/02/2018                                                  Date




    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
    ❑Yes. Name of person                                                                      .       Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                      Declaration, and Signature (Official Form 119).




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 13
 Fill in this information to identify your case:

  Debtor 1                   Douglas               J                  Craig
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                          ❑Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures a Did you claim the property as
                                                                           debt?                                                     exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 Bank of America
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of
    property
                          2407 Donner Path Round Rock, TX
                          78681
                                                                           ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
                                                                           ✔ Retain the property and [explain]:
    securing debt:
                                                                           ❑
                                                                                   modify the loan to bring it current


    Creditor’s                                                             ❑ Surrender the property.                                      ✔ No
                                                                                                                                          ❑
    name:                 BAC Home Loans Service LP
                                                                           ❑ Retain the property and redeem it.                           ❑ Yes
    Description of
    property
                                                                           ❑ Retain the property and enter into a
                                                                                   Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
 Debtor 1             Douglas                J                    Craig                                           Case number (if known)
                      First Name             Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                      /s/ Douglas J Craig                        ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 07/02/2018                                                    Date
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
B2030 (Form 2030)(12/15)



                                        United States Bankruptcy Court
                                                  Western District of Texas

In re
Craig, Douglas J
                                                                                                        Case No.

Debtor                                                                                                  Chapter       7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the
      debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                  $1,000.00
      ..

      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                    $1,000.00
      ...

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       $0.00
      .


2.   The source of the compensation to be paid to me was:

          ✔
          ❑     Debtor                              ❑     Other (specify)

3.   The source of compensation to be paid to me is:

          ✔
          ❑     Debtor                              ❑     Other (specify)

4.   ✔ I have not agreed to share the above-disclosed compensation with any other person
     ❑
     unless they are members and associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with a other person or
     persons who are not members or associates of my law firm. A copy of the agreement,
     together with a list of the names of the people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects
   of the bankruptcy case, including:

     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor
          in determining whether to file a petition in bankruptcy;

     b.   Preparation and filing of any petition, schedules, statements of affairs and plan
          which may be required;

     c.   Representation of the debtor at the meeting of creditors and confirmation
          hearing, and any adjourned hearings thereof;
B2030 (Form 2030)(12/15)




    6.    By agreement with the debtor(s), the above-disclosed fee does not include the following
          services:




                                           CERTIFICATION
            I certify that the foregoing is a complete statement of any agreement or
         arrangement for payment to me for representation of the debtor(s) in this bankruptcy
         proceeding.

         07/02/2018                       /s/ Glen L. Work
         Date                                 Signature of Attorney

                                          Law Office of Glen L. Work, PLLC
                                             Name of law firm
 Fill in this information to identify your case:                                                                      Check one box only as directed in this form and in Form
                                                                                                                      122A-1Supp:
  Debtor 1                   Douglas
                             First Name
                                                   J
                                                   Middle Name
                                                                        Craig
                                                                        Last Name
                                                                                                                      ✔1. There is no presumption of abuse.
                                                                                                                      ❑
  Debtor 2                                                                                                            ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)        First Name            Middle Name          Last Name                                        abuse applies will be made under Chapter 7 Means
                                                                                                                         Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                         Western District of Texas

  Case number
                                                                                                                      ❑3. The Means Test does not apply now because of
  (if known)
                                                                                                                         qualified military service but it could apply later.


                                                                                                                      ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ✔ Married and your spouse is NOT filing with you. You and your spouse are:
      ❑
         ✔ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied
        during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if
        both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                 Column A               Column B
                                                                                                                 Debtor 1               Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                          $0.00                    $3,861.32
    payroll deductions).

 3. Alimony and maintenance payments if Column B is filled in. Do not include payments from a                               $0.00                         $0.00
    spouse.
 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and roommates.
    Include regular contributions from a spouse only if Column B is not filled in. Do not include
    payments you listed on line 3.                                                                                          $0.00                         $0.00

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1           Debtor 2
                                                                                $0.00           $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -           $0.00   -       $0.00

                                                                                $0.00           $0.00   Copy
      Net monthly income from a business, profession, or farm                                                               $0.00                         $0.00
                                                                                                        here →

 6. Net income from rental and other real property                       Debtor 1           Debtor 2
                                                                                $0.00           $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -           $0.00   -       $0.00

                                                                                $0.00           $0.00   Copy
      Net monthly income from rental or other real property                                                                 $0.00                         $0.00
                                                                                                        here →

       7. Interest, dividends, and royalties                                                                                $0.00                         $0.00


 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                        page 1
Debtor 1                     Douglas                           J                                     Craig                                                Case number (if known)
                            First Name                         Middle Name                               Last Name
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation                                                                                                                         $0.00                        $0.00
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................        ↓
           For you....................................................................................                     $0.00
           For your spouse......................................................................                           $0.00
       9. Pension or retirement income. Do not include any amount received that was a benefit                                                               $0.00                        $0.00
          under the Social Security Act.

      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments received
          as a victim of a war crime, a crime against humanity, or international or domestic
          terrorism. If necessary, list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                         +                                   +
                                                                                                                                                           $0.00            +       $3,861.32    =       $3,861.32
       11. Calculate your total current monthly income. Add lines 2 through 10 for each
           column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                      Total current
                                                                                                                                                                                                     monthly income



 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →            $3,861.32

             Multiply by 12 (the number of months in a year).                                                                                                                                        X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.           $46,335.84

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                                   Texas

    Fill in the number of people in your household.                                    1

    Fill in the median family income for your state and size of household....................................................................................................           13.           $47,238.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
        ✔Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
   14a. ❑
          Go to Part 3.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.
 Part 3: Sign Below

       By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


       X /s/ Douglas J Craig                                                                                             X
             Signature of Debtor 1                                                                                            Signature of Debtor 2

            Date            07/02/2018                                                                                       Date
                         MM/DD/YYYY                                                                                                    MM/DD/YYYY

       If you checked line 14a, do NOT fill out or file Form 122A–2.

       If you checked line 14b, fill out Form 122A–2 and file it with this form.


Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                             page 2
                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                            WESTERN DISTRICT OF TEXAS
                                                                  AUSTIN DIVISION

IN RE: Craig, Douglas J                                                                      CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       07/02/2018              Signature                                     /s/ Douglas J Craig
                                                                               Douglas J Craig, Debtor
American Express
PO Box 981537
El Paso, TX 79998




AT&T
PO Box 5014
Carol Stream, IL 60197-5014




Austin Radiological
Association
12554 Riata Vista Circle
Austin, TX 78727



BAC Home Loans Service LP
4909 Savarese Circle FL 1-908-01-47
Tampa, FL 33634




Bank of America
PO Box 31785
Tampa, FL 33631




Barrett Daffin Frappier
Turner & Engel
4004 Belt Line Rd Suite 100
Addison, TX 75001



Capital One
PO Box 30281
Salt Lake City, UT 84130




Capitol Anesthesiology
Association
3705 Medical Parkway Suite 570
Austin, TX 78705
Chase Card
PO Box 15298
Wilmington, DE 19850




Credit Management, LP
4200 International Pkwy
Carrollton, TX 75007




Discover Bank
PO Box 15316
Wilmington, DE




Diversified Consultants
10550 Deerwood Park Blvd Ste 309
Jacksonville, FL 32256




Merchants & Professional
Credit Bureau, Inc.
PO Box 140675
Austin, TX 78714-0675



PHH Mortgage
PO Box 5452
Mount Laurrel, NJ 08054




Sarma Collections
555 E Ramsey Rd
San Antonio, TX 78216
